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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                               23-CR-00118 (AT)
                Plaintiff,
                                                         [PROPOSED] ORDER FOR
      v.                                                ADMISSION PRO HAC VICE

HO WAN KWOK, et al.                                                 ECF CASE

                Defendants.




           The motion of Bradford L. Geyer, for admission to practice Pro Hac Vice in the above-

 captioned action is granted.

           Applicant has declared that he is a member in good standing of the bar of the state of New

 Jersey; and that his contact information is as follows:

                                    Bradford L. Geyer
                                    NJ 022751991
                                    Suite 141 Route 130 S., Suite 303
                                    Cinnaminson, NJ 08077
                                    Brad@FormerFedsGroup.Com
                                    (856) 607-5708

           Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel
 for 3,345 Himalaya Exchange customers in the above-entitled action;

           IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

 above-captioned case in the United States District Court for the Southern District of New York.

 All attorneys appearing before this Court are subject to the Local Rules of this Court, including

 the Rules governing discipline of attorneys.


 DATED:
                                                 Honorable Analisa Torres
                                                 United States District Judge
